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IN THE UNITED STATES DISTRICT COURT
FOR-THE-DISTRICT OF COLUMBIA

NA’EEM BETZ ORIGINAL VERIFIED COMPLAINT
(oad AI DRET EST SE FOR DAMAGES, STATUTORY,
SerINGiON Die oom Sinan PUNITIVE, ACTUAL, FEES AND
DC. EXPENSES, COSTS, AND OTHER
PLAINTIFF /PRO SE RELATED RELIEF
JURY TRIAL DEMANDED
v. 12 JURORS

GLOBAL TELESOURCING, LLC.
3101 WILSON BLVD, SUITE # 230 Case: 1:21-cv—01320 JURY DEMAND
ARLINGTON, VIRGINIA, 22201-4445 Assigned To : Howell, Beryl A.

Assign. Date : 5/7/2021

Description: Pro Se Gen. Civ. (F-
DEFENDANT / RESPONDANT (F-DECk)

 

 

COMES NOW, the Plaintiff(s) Na’eem Betz complaining of the Defendant(s) and as follows;

I. ORIGINAL VERIFIED COMPLAINT
NATURE OF ACTION

L. Plaintiff(s), Na’eem Betz, individually, hereby sues Defendant(s) Global Telesourcing, LLC.,
et al., d/b/a/ (“GLOBAL TELESOURCING”) for new violations of the Telephone Consumer

Protection Act (““TCPA”) 47 U.S.C. § 227(c)(5), invasion of privacy intrusion upon seclusion.

ORIGINAL VERIFIED COMPLAINT
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II. PRELIMINARY STATEMENT

2. This is an action for damages and injunctive relief brought by Plaintiff(s) Na’eem Betz against
Defendant(s) Global Telesourcing, LLC., et al., d/b/a/ (“GLOBAL TELESOURCING’”) for
violations of the Telephone Consumer Protection Act (“TCPA”) 47 U.S.C. § 227(c)(5).

| 3. Upon belief and information, Plaintiff(s) contends that many of these practices are widespread
for the Defendant(s). Plaintiff(s) Na’eem Betz intends to propound discovery to Defendant(s)
Defendant(s) Global Telesourcing, LLC., et al., d/b/a/ (“GLOBAL TELESOURCING’”)
identifying all telephone numbers used / number of times called in placing or making telephone
calls to consumers like Plaintiff Na’eem Betz cellular telephone in direct violation of (“TCPA”) 47
U.S.C. § 227(c)(5), (“FTC”) National Do Not Call Registry.

4. Plaintiff(s) contends that the Defendant(s) have violated such laws by repeatedly harassing
Plaintiff(s) by calling his wireless telephone number ending in 8063 which is registered on the
(“FTC”) National Do Not Call Registry since April 22, 2012. Anyone whose numbers are
registered on the (“DNC”) list that has received two telemarketing calls within a twelve-month
period can sue for all calls including the first. It does not matter if calls are live, pre-recorded or
robo calls. The (“DNC”) provision is a powerful section of the (“TCPA”) because it prohibits calls
to both cell phone and residential lines, which are registered on the federal or company specific
do-not call lists. It is not necessary to prove the telemarketer used an (“ATDS”) or used artificial
or pre-recorded voice messages. Live calls to numbers registered on the (“DNC”) are prohibited.
Il. JURISDICTION AND VENUE

5. Jurisdiction of this Court arises under Telephone Consumer Protection Act, (“TCPA”)

47 U.S.C. §227(3)(C) et seq. Federal Question Jurisdiction 28 U.S.C. § 1331. Supplemental

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jurisdiction exists for the state law claims pursuant to 28 U.S.C. §1367. See Mims v. Arrow Fin.

Servs., LLC, 132 S. Ct. 740, 745 (2012).

6. Venue is proper pursuant to 28 U.S.C. §1391(b)(2). (b) Venue in General. —A civil action
may be brought in— (2) a judicial district in which a substantial part of the events or omissions
giving rise to the claim occurred, or a substantial part of property that is the subject of the action is
situated.

IV. PARTIES

7. Plaintiff(s), Na’eem Betz, is a natural person and is a resident of Washington, D.C. or
Washington, District of Columbia which is the Federal District Capital of the United States of
America.

8. Upon information and belief Defendant(s) Global Telesourcing, LLC., ef al., d/b/a/
(“GLOBAL TELESOURCING’) located at; 3101 Wilson Blvd, Suite #230, Arlington, Virginia,
22201-4445. The Defendant also maintains a current registered agent located at; Corporate
Creations Network Inc., 1629 K Street, N.W. Suite #300 Washington, District of Columbia,
20006. Upon information and belief Defendant(s) Global Telesourcing, LLC., et al., d/b/a/
(“GLOBAL TELESOURCING’) prides ourselves on delivering better quality and results at a
more affordable cost than domestic providers—for a higher-level customer experience and

maximum ROT.

Omnichannel Customer Contacts...

e Inbound, outbound and blended voice solutions
e Chat on demand

e Text, email and social DM engagement

e Voicemail callbacks

...For Chents’ Highest-Impact Customer Contact Programs

* Consultative sales

e Customer service

e Reservation lines

e Help desk / tech support

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e VP. and loyalty programs
e« Appointment scheduling & reminders
e Billing support

A Choice Of Work Environments

A dedicated group of agents working on site from our production floor in Monterrey, Mexico
A digitally connected work@home team with the same high-level security and oversight

Or both!

9. Upon information and belief Defendant(s) Global Telesourcing, LLC., et al., d/b/a/
(“GLOBAL TELESOURCING’”) Steeped In A Sales Mindset Global Telesourcing got our start in
sales—complex, high-value, often recurring revenue sales, and usually our clients’ toughest
programs. Why does this matter? We developed a metrics obsession, and we always steer by
results. The first step in any customer contact design with Global Telesourcing is defining success.
We quantify the optimal Cx and then create the structures to train, motivate and empower our
team to deliver. Positive Cx transforms service functions into revenue centers
A customer inquiry results in a better-fitting upsell—and a positive online review
A reservation call ends in a loyalty program enrollment—and years of return business
A software support call leads to a service subscription—and a recurring revenue stream

See The Cx Difference Global Telesourcing Has Delivered For Our Clients.

10. Upon information and belief Defendant(s) Global Telesourcing, LLC., et al., d/b/a/
(“GLOBAL TELESOURCING”) Customer experience is the measure by which today’s brands
are judged, and expectations are high. In most domestic markets, it’s difficult and expenstve to
scale high-quality customer contact solutions. Offshoring is an option, but language, accent and
cultural disconnects can undermine customer relationships.

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Global Telesourcing offers a better alternative premium quality customer contact solutions

delivered by domestic talent living nearshore.

11. Upon information and belief Defendant(s) Global Telesourcing, LLC., ef al., d/b/a/
(“GLOBAL TELESOURCING”) Building A Business; We built our campus and, over a decade,
expanded to three buildings and more than 1,100 agent workstations. We built a name for
ourselves based on a simple value proposition: premium quality Cx with a nearshore cost
advantage. That helped us build a U.S. client base of Fortune 100 companies and other leaders in
the telecommunications, energy, hospitality and healthcare sectors.

And the whole time, we were building a culture and an environment that embodies our ideals. It’s
based on opportunity for advancement, open-door management (actually, we did away with the
doors) and a work hard, play hard, support-each-other mentality GTers call “making it happen.”
Vv. LEGAL BASIS FOR THE CLAIMS

12. The Federal Communications Commission plays a crucial role in helping consumers stop
unwanted calls and text messages. Under the Telephone Consumer Protection Act, the FCC
provides clarity on the law, sets rules, takes enforcement actions, and provides resources for

consumers.

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Federal
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Consumers can take back their permission to be called or texted in any reasonabie way
A calling company cannot require someone to fill out a form and mail it in as the only
way to revoke consent.

“See Attached Exhibit C — (FTC)(FCC) Federal Communications Commission - Consumer Help
Resources Know your Rights: The Rules on Robocalls and Robotexts.”

Congress enacted the (“TCPA”) in 1991 to address certain practices thought to be an invasion of
consumer privacy and a risk to public safety. The (“TCPA”) and the Federal Communications
Commission’s (“FCC”) implemented rules to prohibit: (1) making telemarketing calls using an
artificial or prerecorded voice to residential telephones without prior express consent; and (2)
making any non-emergency call using an automatic telephone dialing system (“ATDS”) or an
artificial or prerecorded voice to a wireless telephone number without prior express consent.

13. If the call includes or introduces an advertisement, or constitutes telemarketing, consent must
be in wniting. Calls that include non-marketing messages require consent, but not written consent.
The (“TCPA”) grants consumers a private right of action, with a provision for ($500) or the actual
monetary loss in damages for each violation, whichever is greater, and treble damages ($1500) for
each willful or knowing violation, as well as injunctive relief.

14. Since the TCPA’s passage in 1991, the (“FCC”) has taken multiple actions implementing
and interpreting the (“T'CPA”’) and has issued numerous Declaratory Rulings clarifying specific

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aspects of the (“TCPA”). The most recent, FCC Omnibus Order of July 10, 2015, (the “Order”)
provided further protection to consumers by, among other things, clarifying that (“ATDS”) is
nearly any dialing system, confirming liability attaches to calls made to the wrong number or
reassigned number, and clarifying consumers may revoke consent through reasonable methods.

15. In the Matter of Rules and Regulations Implementing the Tel. Consumer Prot. Act of 1991,
FCC 15-72, 30 F.C.C.R. 7961, (July 10, 2015), available at hittps://Wwww_fee 2ow/document/tepa-
omnibus-declaratory-ruling-and-order. The Order defines an “auto-dialer” as equipment/software
that has the future capacity to dial randomly or sequentially. “In other words, the capacity of an
auto dialer is not limited to its current configuration but also includes its potential functionalities.”
The Order clarifies the meaning of “capacity” and that “any call” made using the device with the
capacity to serve as an (“ATDS”) requires consent under the (“TCPA”), even if the caller is not
“actually...using those functionalities to place calls” at the time.

Prior express written consent means “an agreement, in writing, bearing the signature of the person
called that clearly authorizes the seller to deliver or cause to be delivered to the person called
advertisements or telemarketing messages using an automatic telephone dialing system or an
artificial or prerecorded voice, and the telephone number to which the signatory authorizes such
advertisements or telemarketing messages to be delivered. 47 C.F.R. § 64.1200(f)(8).

16. The Order also states that calls placed to the wrong number or a reassigned number are made
with knowledge of the error after the first call; and consumers may revoke consent through any
reasonable method, including orally: “w]e clarify, however, that callers who make calls without
knowledge of reassignment and with a reasonable basis to believe that they have valid consent to
make the call should be able to initiate one call after reassignment as an additional opportunity to

gain actual or constructive knowledge of the reassignment and cease future calls to the new

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subscriber. If this one additional call does not yield actual knowledge of reassignment, we deem
the caller to have constructive knowledge of such,” “[c]onsumers generally may revoke, for
example, by way of a consumer-initiated call, directly in response to a call initiated or made by a
caller, or at an in-store bill payment location, among other possibilities.”

17. Furthermore, the (“TCPA”) established the National Do-Not-Call List and also mandates all
businesses that place calls for marketing purposes maintain an “internal” do-not-call list
(“IDNC”). See 47 C.F.R. § 64.1200(d). The (“IDNC’”) is “‘a list of persons who request not to
receive telemarketing calls made by or on behalf of that [seller].” Id. The (“TCPA”) prohibits a
company from calling individuals on its (“IDNC’”) list or on the (“IDNC”) list of a seller on whose
behalf the telemarketer calls, even if those individuals’ phone numbers are not on the National Do-
Not-Call Registry. Id. At § 64.1200(d)(3),(6). Any company or someone on the company’s behalf,
who calls a member of the company (“IDNC”) is liable to that person under the (“TCPA”). The
called party is then entitled to bring a private action under the (“TCPA’’) for monetary and
injunctive relief.

18. Finally, in 2008, the (“FCC”) held that “‘a creditor on whose behalf an autodialed or
prerecorded message call is made to a wireless number bears the responsibility for any violation of
the Commission’s rules.” In re Rules and Regulations Implementing the Telephone Consumer
Protection Act, Declaratory Ruling on Motion by ACA International for Reconsideration, 23
FCCR cd. 559, 565, J 10 (Jan. 4, 2008); Birchmeier v. Caribbean Cruise Line, Inc., 2012 WL
7062748 (Dec. 31, 2012). Accordingly, the entity can be liable under the (““TCPA”’) for a call
made on its behalf, even if the entity did not directly place the call. Under those circumstances, the
entity is deemed to have initiated the call through the person or entity. In interpreting the

(“TCPA”), it should be borne in mind that "[t]he (“TCPA”) is a remedial statute that was passed to

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protect consumers from unwanted automated telephone calls." Gaver vy Dell Fin Servs. LLC. 72

 

 

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F 3d 265, 271 (3d Cir. 2013). citing S. Rep. 102-178, at 5 (1991), reprinted in 1991 U.S.C.C_A.N.
1968, 1972. The (“TCPA”) provides a private right of action for injunctive relief and damages. Id.

§ 227(b)(3). A text message to a cell phone is a "call" for purposes of the TCPA. Campbell-lwald

 

Co. v. Gomez, 136 S. Ct_ 663. 667 (2016).

 

VI. FACTUAL ALLEGATIONS

19. On the date of 02/24/2021 at 9:58am, 03/02/2021 at 11:27am, 03/05/2021 at 3:10pm,
03/09/2021 at 9:30am, 03/10/2021 at 5:21pm, 03/12/2021 at 2:28pm, 03/14/2021 at 3:19pm,
03/15/2021 at 3:32pm, 03/17/2021 at 10:53am, 03/18/2021 at 3:51pm, Defendant(s) Global
Telesourcing, LLC., et al., d/b/a/ (“GLOBAL TELESOURCING’’) violated the TCPA by calling
Plaintiff(s) Na’eem Betz wireless telephone used for both personal and residential (202-XXX-
8063), “numerous “or ‘10” plus times from the telephone number (407-339-0165). Defendant(s)
Global Telesourcing, LLC., et al., d/b/a/ (“GLOBAL TELESOURCING’’) has demonstrated
willful or knowing noncompliance with 47 USC § 227(c)(5) by calling Plaintiff(s) Na'eem Betz
wireless telephone used for both personal and residential number (202-XXX-8063), “numerous”
or ‘10” plus times which is registered on the National Do Not Call Registry (DNC) since April 22,
2012. Plaintiff(s) number, which is assigned to a cellular telephone service and is charged for
monthly telephone usage and other communication services. These calls caused emotional
damage, extra electricity usage, extra battery usage and were a direct invasion of privacy to
Plaintiff(s) Na’eem Betz. The Defendant(s) actions caused lost time, aggravation, and continued
distress. Plaintiff never authorized (“GLOBAL TELESOURCING’) to advertise or solicit Plaintiff
wireless telephone used for both personal and residential without his verbal or express written

consent. Global Telesourcing, LLC., et al., d/b/a/ (“GLOBAL TELESOURCING’’)) never was

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given verbal, text, email or express written consent for any other advertisements or promotional

offers. Plaintiff demands strict proof to the contrary of these false and deceptive statements
regarding an alleged inquiry for services. Again, Global Telesourcing, LLC., et al., d/b/a/
(“GLOBAL TELESOURCING’) never scrubbed Plaintiff(s) wireless telephone against the
National Do-Not-Call List or Registry after placing new unwanted personal and residential
telephone calls. A text message to a cell phone is a "call" for purposes of the TCPA. Campbell-

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Ewald Co. v. Gomez. 136 8. Ct. 663. 667 (2016).

 

20. Plaintiff Na’eem Betz is the regular carrier and private user of the cellular telephone
assigned the number ending in 8063. These calls caused emotional damage, extra electricity usage,
extra battery usage and were a direct invasion of privacy to Plaintiff(s) Na’eem Betz by making
the telephone calls at issue in this Original Verified Complaint, Defendant(s) caused consumer
Plaintiff(s) Na’eem Betz actual harm, including the aggravation, nuisance, and invasion of privacy
that directly accompanies the receipt of unsolicited and harassing cellular telephone calls.
Defendant(s) calls constituted calls that were not for emergency purposes as defined by 47 U.S.C.
§ 227(b)(1(A)(i). Plaintiff(s) Na’eem Betz did not provide Defendant(s) with prior express written
consent or prior express consent to place calls to his cellular telephone. Congress enacted the
(“TCPA”) to prevent real harm. Congress found that “automated or pre-recorded calls are a
nuisance and an invasion of privacy, regardless of the type of call” and decided that “banning”
such calls made without consent was “the only effective means of protecting telephone consumers
from this nuisance and privacy invasion. Defendant(s) phone calls harmed Plaintiff by causing the
very harm that Congress sought to prevent—a “nuisance and invasion of privacy.” Defendant(s)
phone calls harmed Plaintiff by trespassing upon and interfering with Plaintiff(s) rights and

interests in Plaintiff(s) cellular telephone. Defendant(s) phone calls harmed Plaintiff by intruding

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upon Plaintiff(s) seclusion. Defendant(s) harassed Plaintiff by incessantly calling Plaintiff(s)

telephone. Defendant(s) phone calls harmed Plaintiff by depleting the battery life on Plaintiff(s)
cellular telephone number used for both personal and residential.

“See Attached Exhibit A - The email confirmation sent from the (FTC) Federal Trade
Commission Verify@donotcall.gov to Plaintiff(s) Na’eem Betz confirming cellular telephone
registry on the (FTC)(FCC)) National Do Not Call Registry on a number ending in 8063 on
April 22, 2012.” “See Attached Exhibit B - Screenshots of Cellular Telephone Call Records from
Defendant(s) Global Telesourcing, LLC., et al., d- bea’ (‘GLOBAL TELESOURCING ”) “See
Attached Exhibit C - (FTC)(FCC) Federal Communications Commission - Consumer Help
Resources Know your Rights: The Rules on Robocalls and Robotexts”.

21. Upon information and belief the Defendant(s) never scrubbed Plaintiff(s) wireless telephone
against the (“TCPA”) established National Do-Not-Call List which also mandates all businesses
that place calls for marketing purposes maintain an “internal” do-not-call list (“IDNC”). See 47
CFR. § 64.1200(d). The (“IDNC”) is “a list of persons who request not to receive telemarketing
calls made by or on behalf of that [seller]. Id. The (“TCPA”) prohibits a company from calling
individuals on its (“IDNC”) list or on the (“IDNC”) list of a seller on whose behalf the
telemarketer calls, even if those individuals’ phone numbers are not on the National Do-Not-Call
Registry. Id. At §64.1200(d)(3)(6). The called party is then entitled to bring a private action under
the (“TCPA”) for monetary and injunctive relief.

22. Upon and information and belief the Defendant(s) willfully and knowingly called Plaintiff(s)
wireless phone “numerous” times from telephone numbers (407-339-0165) while never leaving

voicemail messages identifying the true nature of these illegal telephone calls.

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23. Telemarketing Calls to “Do-Not-Call”...(‘DNC”) Numbers Prohibited — 47 USC 227(c)(5).
This section only applies to telephone solicitation calls. Anyone whose numbers are registered on
the (“DNC”) list that has received two telemarketing calls within a twelve-month period can sue
for all calls including the first. It does not matter if calls are live, pre-recorded or robo calls.

24. The (“DNC”) provision is a powerful section of the (“TCPA”) because it prohibits calls to
both cell phone and residential lines, which are registered on the federal or company specific do-
not call lists. It is not necessary to prove the telemarketer used an (“ATDS”) or used artificial or
pre-recorded voice messages. Live calls to numbers registered on the (“DNC”) are prohibited.
The best part about (“DNC”) violations from the consumer perspective is that the Sixth Circuit
Court of Appeals has held that damages under this section may be stacked on top of the (““TCPA”)
227(b) section covering “calls to cell phones.” This means that the consumer can get up to
$3000.00 per call for violations of the cell phone prohibitions and the (“DNC”) provisions.
Charvat v NMP, LLC, 656 F. 3d 440 (6th Cir. 2011).

25. (“TCPA”) Damages: According to the (“TCPA”), as codified in 47 U.S.C. § 227, an
individual or entity has a private right of action to bring an action based on a violation of a
subsection of the Act. (47 U.S.C. § 227(b)(3) (calls to a cell phone / wireless telephone). An
individual or entity may bring an action to enjoin such violations, for monetary loss for such
violations, for $500.00 for each such violation, whichever is greater, or for both injunction and
damages. If the court finds that the defendant willfully or knowingly violated the regulations under
the (“TCPA”), the court may, in its discretion, increase the amount of the award to an amount
equal to not more than 3 times the amount of the statutory compensatory damages above.

26. The body of case law addressing the available damages for a Plaintiff(s) suing under a

(“TCPA”) private right of action reflects the general rule that where the court finds that the

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defendant caller has violated a subsection of the Act, it will at least award to the Plaintiff $500 per

violation as required by the Act.

27. Furthermore, when the facts of the specific case rise to the level of showing a knowing or
willful violation of the Act, the court will, in its discretion and within its jurisdiction, also award
exemplary or treble damages that may be as much as three times the damages award. In
determining willfulness, the court looks at whether the defendant’s actions show its knowledge of
the facts that constitute the offense (knowing); at the prior interactions between the Plaintiff(s) and
the Defendant; and at whether the defendant attempted to stall, evade or avoid its obligations
under the (“TCPA”).

28.Willful and Knowing: Treble Damages One of the best arguments for trebling damages is the
standard set forth in 47 U.S.C. § 312 F, Administrative sanctions, which is part of the same section
of the United States Code that the (““TCPA”) falls under.

(f) “Willful” and “repeated” defined

For purposes of this section:

(1) The term “willful”, when used with reference to the commission or omission of any act, means
the conscious and deliberate commission or omission of such act, irrespective of any intent to
violate any provision of this chapter or any rule or regulation of the Commission authorized by
this chapter or by a treaty ratified by the United States.

(2) The term “repeated”, when used with reference to the commission or omission of any act,
means the commission or omission of such act more than once or, if such commission or omission
is continuous, for more than one day.

29. Courts may treble the damages award if the court finds that Defendant's violations were

committed "willfully or knowingly." 47 U.S.C. § 227(b)(3). Although neither the (“TCPA”) nor

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the (“FCC”) regulations define the terms “willfully or knowingly", courts have generally

interpreted willfulness to imply only that an action was intentional. Smith v. Wade, 461 U.S. 30,
41 n.8 (1983). While the (“TCPA”) does not define willful, the Communications Act of 1943, of
which the (““TCPA”) is a part, defines willful as "the conscious or deliberate commission or
omission of such act, irrespective of any intent to violate any provision, rule or regulation.” In
Dubsky v. Advanced Cellular Communications, Inc., No. 2008 cv 00652, 2004 WL 503757, at * 2
(Ohio Com. PI. Feb. 24, 2004), the court found that in the context of the (““TCPA”), the term
acting "willfully" means that "the defendant acted voluntarily, and under its own free will,
regardless of whether the defendant knew that it was acting in violation of the statute.” 47 U.S.C.§
227(b)(3).

30. The (“TCPA”) defines an (“ATDS”) as “equipment which has the capacity — (A) to store or
produce telephone numbers to be called, using a random or sequential number generator; and (B)
to dial such numbers." 47 U.S.C. § 227(a)(1). In a 2015 order, the FCC held that the "(“TCPA”) 's
use of ‘capacity’ does not exempt equipment that lacks the ‘present ability' to dial randomly or
sequentially," and that "the capacity of an autodialer . . . also includes its potential functionalities."
See In the Matter of Rules & Regulations Implementing the Telephone Consumer Protection Act
of 1991, 30 F.C.C. Red. 7961, 7974 (July 10, 2015) ("2015 Order").

31. The list of the numerous or “10” plus “INCOMING” telephone calls placed by the
Defendant(s) Global Telesourcing, LLC., et al., d/b/a/ (“GLOBAL TELESOURCING”).

1. Call on Wednesday, 02/24/2021 at 9:58am from (407-339-0165)
2. Call on Tuesday, 03/02/2021 at 11:27am from (407-339-0165)
3. Call on Friday, 03/05/2021 at 3:10pm from (407-339-0165)

4. Call on Tuesday, 03/09/2021 at 9:30am from (407-339-0165)

ORIGINAL VERIFIED COMPLAINT
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5. Call on Wednesday, 03/10/2021 at 5:21pm from (407-339-0165)
6. Call on Friday, 03/12/2021 at 2:28pm from (407-339-0165)

7. Call on Sunday, 03/14/2021 at 3:19pm from (407-339-0165)

8. Call on Monday, 03/15/2021 at 3:32pm from (407-339-0165)

9. Call on Wednesday, 03/17/2021 at 10:53am from (407-339-0165)
10. Call on Thursday, 03/18/2021 at 3:51pm, from (407-339-0165)

Calling a consumer who has asked not to be called potentially exposes a seller and telemarketer
to a civil penalty of $16,000 ($40,000 beginning 08/01/16) per violation. Violators will be subject
to civil penalties of up to $16,000 ($40,000 beginning 08/01/16) per violation, as well as

injunctive remedies.

VIL COUNT I
THE TELEPHONE CONSUMER PROTECTION ACT
VIOLATIONS OF 47 U.S.C.§227(c)(5)
FOR CALLS PLACED TO NUMBERS LISTED ON THE DO NOT CALL REGISTRY

32. Plaintiff(s) alleges and incorporates the information in paragraphs 1 through 43.

33. Defendant(s) has demonstrated willful or knowing non-compliance with 47 U.S.C. §
227(c)(5) by calling Plaintiff(s) Na’eem Betz wireless telephone number 202-XXX-8063 that has
been placed on the National Do Not Call Registry (DNC) since April 22, 2012, Plaintiff(s)
number, which is assigned to a cellular telephone service. Plaintiff(s) Na’eem Betz has never
consented verbally or in writing to receive telephone calls from the Defendant(s) Global
Telesourcing, LLC., e¢ al., d/b/a/ (“GLOBAL TELESOURCING’”)). The (“DNC”) provision ts a
powerful section of the (“TCPA”) because it prohibits calls to both cell phone and residential
lines, which are registered on the Federal or company specific Do-Not Call lists. It is not necessary

to prove the telemarketer used an (“ATDS”) or used artificial or pre-recorded voice messages.

Live calls to numbers registered on the (“DNC”) are prohibited.

ORIGINAL VERIFIED COMPLAINT
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Oo Oo NA Dn A F&F WW NH

 

 

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34. “See Attached Exhibit A - The email confirmation sent from the (FTC) Federal Trade
Commission Verify@donotcall.gov to Plaintiff(s) Na'eem Betz confirming cellular telephone
registry on the (FTC)(FCC) National Do Not Call Registry on a number ending in 8063 on
April 22, 2012.” “See Attached Exhibit B - Screenshots of Cellular Telephone Call Records from
Defendant(s) Global Telesourcing, LLC., et al. , d‘b‘a’ (“GLOBAL TELESOURCING ”) “See
Attached Exhibit C — (FTC)(FCC) Federal Communications Commission - Consumer Help
Resources Know vour Rights: The Rules on Robocalls and Robotexts.”

Consent or permission must be evidenced by a registrant’s signed, written agreement to be
contacted by the telemarketer. Id. § 64.1200(c)(2)(1i). The written agreement must also include the
telephone number to which the calls may be placed. Id.

35. A person whose number is on the Registry and has received more than one telephone
solicitation within any twelve-month period by or on behalf of the same entity in violation of the
(“TCPA”’) can sue the violator and seek the same statutory damages available under § 227(b) — the
greater of actual damages or $500, a figure that may be trebled for willful or knowing violations.
47 U.S.C. § 227(c)(5).

36. Each Defendant(s) violated 47 U.S.C. § 227(c) by sending, either directly or through the
actions of others, telephone solicitation calls to telephone numbers listed on the National Do Not
Call Registry. The (“TCPA”) imposes liability on entities that do not directly place illegal calls. It
has long been the law that a seller of goods or services can be liable for (“TCPA”’) violations even
if the seller does not directly place or initiate the calls. As explained by the (“FCC”), the
(“TCPA”) and its regulations “generally establish that the party on whose behalf a solicitation is

made bears ultimate responsibility for any violations.”

ORIGINAL VERIFIED COMPLAINT
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37. See Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991,
Mem. and Order, 10 FCC Red. 12391, 12397 4 13 (1995). The (“FCC”) reiterated this principle in
2005 when it stated that “a company on whose behalf a telephone solicitation is made bears the
responsibility for any violation of our telemarketing rules, and calls placed by a third party in the
name of that company are treated as if the company itself placed the call.”

38. See Rules and Regulations Implementing the Telephone Consumer Protection Act of 1991;
Request of State Farm Mutual Automobile Insurance Company for Clarification and Declaratory
Ruling, Declaratory Ruling, 20 FCC Red. 13664, 13667 4 7 (2005). The (“FCC”) reaffirmed this
in 2013, when it held (a) with respect to violations of § 227(b), a seller may be liable under
principles of apparent authority, actual authority, and ratification for telemarketing violations
placed by third parties, and (b) with respect to violations of § 227(c), a seller may be liable under
those same principles, and, under the express terms of the statute, for calls placed “on behalf of”
the seller. In re Joint Pet. Filed by Dish Network, 28 FCCR 6574 (2013).

39.Violation of § 227(c) for calls placed to numbers listed on the (“FCC”) - National Do Not
Call Registry, each Defendant(s) violated 47 U.S.C. § 227(c) by sending, either directly or through
the actions of others, telephone solicitation calls to telephone numbers listed on the (“FTC”)
(“FCC”) - National Do Not Call Registry.

40. Defendant(s) has committed “numerous” or “10” plus separate violations of 47 U.S.C. §
227(c) and Plaintiff(s) is entitled to damages of $500 per violation pursuant to 47 U.S.C. § 227(b)
—the greater of actual damages or $500, a figure that may be trebled for willful or knowing

violations up to $1500 47 U.S.C. § 227(c)(5). The acts and practices alleged in Paragraphs 1-43

constitute violations of section 47 U.S.C. § 227(c)(5).

ORIGINAL VERIFIED COMPLAINT
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o oO NY DH FF W LY

 

 

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41. The frequency of this unauthorized cellular telephone calls have facial plausibility that
Plaintiff(s) Na’eem Betz has plead as factual content that will allow the court to draw the
reasonable inference that the Defendant(s) Global Telesourcing, LLC., et al., d/b/a/ (“GLOBAL
TELESOURCING”)) is liable for their unlawful conduct and behavior. Assuming the truth of
Plaintiff(s) factual allegations, the Court will find all claims to be facially plausible.

IV. PRAYER FOR RELIEF

42, WHEREFORE, Plaintiff Na’eem Betz demands judgment for monetary damages against
the Defendant(s) Global Telesourcing, LLC., et al , d/b/a/ (“GLOBAL TELESOURCING”)
twenty thousand dollars for actual or statutory damages, punitive damages, attorney's fees and
costs and further relief as the Court deems just and proper.

X. DEMAND FOR JURY TRIAL
43. Plaintiff(s) hereby demands a trial by jury of all issues so triable as a matter of law.

Respectfully submitted this 5" day of May 2021.

XL VERIFICATION OF COMPLAINT AND CERTIFICATION
(DISRTICT OF COLUMBIA)

Plaintiff(s), Na’eem Betz, states as follows:

I am the Plaintiff(s) in this Federal Civil proceeding.

I believe that this Original Verified Complaint is well grounded in fact and warranted by
existing law or by a good faith argument for the extension, modification or reversal of existing
law. I believe that this Original Verified Complaint is not interposed for any improper purpose,
such as to harass any Defendant(s) cause unnecessary delay to any Defendant(s), or create a

needless increase in the cost of litigation to any Defendant(s), named in the Onginal Verified

ORIGINAL VERIFIED COMPLAINT
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Complaint. I have filed this Original Verified Complaint in good faith and solely for the purposes
set forth in it. Each and every exhibit I have provided which has been attached to this Original
Verified Complaint is a true and correct copy of the original.

Except for clearly indicated redactions made by my Plaintiff(s) Na’eem Betz where appropriate,
I have not altered, changed, modified or fabricated these exhibits.

Pursuant to 28 U.S.C. § 1746(2), Na’eem Betz, hereby declare (or certify, verify or state) under
penalty of perjury that under the laws of the United States of America that the

foregoing is true and correct. Executed on May 5", 2021.

/
Na’eem Betz 7B

Date: May 5". 2021 Plaintiff, In Propria Persona
ALL RIGHTS RESERVED
NA’EEM BETZ

4244 HILDRETH ST.SE
WASHINGTON, D.C. 20019-9998
nobetzo@gmail.com

NA’EEM BETZ

P.O, BOX 15714

WASHINGTON, D.C. 20003-9998

XII. CERTIFICATE OF SERVICE

I hereby certify that on this 5" day of May 2021, I filed the foregoing by CM/ECF System for
District Court for the District of Columbia which will then send a notification of such filing. I
further state under oath that I caused the forgoing, to be served on the parties listed below by
United States Postal Service postage prepaid as a courtesy, on the following:

I certify that a copy of the Verified Complaint will be served upon the Defendant(s) registered

agent, below in compliance with FRCP Rule 4; Pursuant to Local Civil Rules.

ORIGINAL VERIFIED COMPLAINT
~19~

 
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GLOBAL TELESOURCING, LLC.

3101 WILSON BLVD, SUITE #230

ARLINGTON, VIRGINIA, 22201-4445

Defendant(s)
NA’EEM BETZ
4244 HILDRETH ST. SE
WASHINGTON, D.C. 20019-9998
nobetzo@gmail.com

Plaintiff(s)

NA’EEM BETZ
P.O. BOX 15714
WASHINGTON, D.C. 20003

/
Date: May 5", 2021 Na’eem Betz 5

Plaintiff, In Propria Persona
ALL RIGHTS RESERVED

ORIGINAL VERIFIED COMPLAINT
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